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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

___________________________________________
                                           )
PEDRO LOPEZ; ABEL CANO;                    )
KEVIN SLEDGE; CHARLES DEJESUS;             )
RICHARD BROOKS; THE MASSACHUSETTS          )
HISPANIC LAW ENFORCEMENT ASSOCIATION,      )
            Plaintiffs                     )
                                           )
v.                                         )
                                           ) Case No. 07-CV-11693-JLT
CITY OF LAWRENCE, MASSACHUSETTS;           )
CITY OF METHUEN, MASSACHUSETTS;            )
COMMONWEALTH OF MASSACHUSETTS;             )
PAUL DIETL, IN HIS CAPACITY AS PERSONNEL )
ADMINISTRATOR FOR THE COMMONWEALTH         )
OF MASSACHUSETTS, HUMAN RESOURCES          )
DIVISION; JOHN MICHAEL SULLIVAN, IN HIS    )
CAPACITY AS MAYOR OF THE CITY OF           )
LAWRENCE, MASSACHUSETTS; and               )
WILLIAM MANZI, III, IN HIS CAPACITY AS     )
MAYOR OF CITY OF METHUEN,                  )
MASSACHUSETTS,                             )
            Defendants                     )
___________________________________________)


                  PLAINTIFFS’ CERTIFICATION OF COMPLIANCE
                          WITH LOCAL RULE 16.1(D)(3)

      Plaintiffs and their attorneys hereby affirm that we have conferred in accordance

with Local Rule 16.1(D)(3) and discussed the potential costs of conducting this litigation

and alternative means of dispute resolution.
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                                       Attorneys for the Plaintiffs,

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                                       /s/ Pedro Lopez, Abel Cano, Kevin
                                       Sledge, Charles DeJesus, Richard
                                       Brooks, and the Massachusetts
                                       Hispanic Law Enforcement Association
                                                    Plaintiffs



Dated: December 21, 2007
